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     Attorneys for Plaintiff and the Class
10
11                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
12
13   SHANA PIERRE, individually and on
     behalf of all others similarly situated,       Case No.
14
15                      Plaintiff,                  CLASS ACTION COMPLAINT
     v.                                             JURY TRIAL DEMANDED
16
17   IEC CORPORATION D/B/A
     INTERNATIONAL EDUCATION
18
     CORPORATION, a Delaware
19   corporation,
20
                        Defendant.
21
22         Plaintiff Shana Pierre (“Pierre” or “Plaintiff”) brings this Class Action
23   Complaint (“Complaint”) against Defendant IEC Corporation d/b/a International
24   Education Corporation (“IEC” or “Defendant”) to stop IEC’s practice of placing
25   unsolicited telephone calls and text messages to consumers who are registered on
26   the National Do Not Call Registry and to obtain redress for all persons similarly
27   injured by IEC’s conduct. Plaintiff also seeks an award of statutory damages to the
28   members of the Class, plus court costs and reasonable attorneys’ fees. Plaintiff, for

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 1   her Complaint, alleges as follows upon personal knowledge as to herself and her
 2   own acts and experiences, and, as to all other matters, upon information and belief,
 3   including investigation conducted by her attorneys.
 4                                         PARTIES
 5         1.     Plaintiff Pierre is an individual who resides in Miami, Florida.
 6         2.     Defendant IEC Corporation is a Delaware corporation whose principal
 7   place of business is located at 16485 Laguna Canyon, Suite 300, Irvine, CA 92618.
 8                               JURISDICTION & VENUE
 9         3.     This Court has subject matter jurisdiction over this action pursuant to
10   28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection
11   Act, 47 U.S.C. § 227, et seq. (“TCPA” or the “Act”), a federal statute. This Court
12   also has subject matter jurisdiction under the Class Action Fairness Act, 28 U.S.C.
13   § 1332 (“CAFA”), because the alleged Class consists of over 100 persons, there is
14   minimal diversity, and the claims of the class members when aggregated together
15   exceeds $5 million. Further, none of the exceptions to CAFA applies.
16         4.     The Court has personal jurisdiction over Defendant and venue is
17   proper in this District because Defendant regularly conducts business in this
18   District, Defendant resides in this District, and a substantial part of the events
19   giving rise to the claims asserted here occurred in this District.
20                         COMMON ALLEGATIONS OF FACT
21         5.     Defendant IEC is a corporation that offers post-secondary educational
22   programs through a variety of education brands, including UEI College, United
23   Education Institute, Florida Career College, and U.S. Colleges.
24         6.     Unfortunately for consumers, in an attempt to promote its business and
25   to generate leads for its educational programs, IEC conducted (and continues to
26   conduct) a wide scale telemarketing campaign and repeatedly places unsolicited
27   telephone calls and text messages to numbers which appear on the National Do Not
28   Call Registry—all without securing prior express invitation or permission. Such

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 1   conduct violates the TCPA.
 2         7.     The TCPA and its implementing regulations, 47 C.F.R. § 64.1200, et
 3   seq. prohibit companies and persons, such as IEC, from placing multiple,
 4   unsolicited telephone calls and text messages to persons who have listed their phone
 5   numbers on the national Do Not Call registry.
 6         8.     As such, Defendant not only invaded the personal privacy of Plaintiff
 7   and members of the putative Class, they also intentionally and repeatedly violated
 8   the TCPA.
 9         9.     The TCPA was enacted to protect consumers from unauthorized,
10   unsolicited telephone calls exactly like those alleged in this Complaint—calls
11   placed to numbers without prior express invitation or permission to persons who
12   listed their phone numbers on the Do Not Call list.
13         10.    By placing the unsolicited calls and text messages at issue in this
14   Complaint, Defendant caused Plaintiff and the members of the Class actual harm
15   and cognizable legal injury. This includes the aggravation and nuisance and
16   invasions of privacy that result from the receipt of such telephone calls as well as a
17   loss of value realized for any monies that consumers paid to their carriers for the
18   receipt of such telephone calls. Furthermore, the calls interfered with and
19   interrupted Plaintiff’s and the other class members’ use and enjoyment of their
20   phones, including the related data, software, and hardware components. Defendant
21   also injured the Plaintiff and class members by causing wear and tear on their
22   phones.
23         11.    At no time did Defendant obtain prior express invitation or permission
24   from Plaintiff and the class members orally or in writing to receive telephone calls
25   or text messages from Defendant.
26         12.    Defendant was, and is, aware that telephone calls and text messages
27   described herein were made to consumers like Plaintiff who have not consented to
28   receive them.

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 1         13.    To the extent any third party placed the telephone calls or sent the text
 2   messages, the third party acted on behalf of IEC at IEC’s direction and control, for
 3   IEC’s knowing benefit, with IEC’s approval, and IEC ratified the placing of any
 4   such telephone calls or messages.
 5         14.    On behalf of the Class, Plaintiff seeks an injunction requiring IEC to
 6   cease all unauthorized telephone calling activities to persons registered on the Do
 7   Not Call list and an award of statutory damages to the class members, together with
 8   pre- and post-judgment interest, costs and reasonable attorneys’ fees.
 9                          FACTS SPECIFIC TO PLAINTIFF
10         15.    Plaintiff Pierre is the primary and customary user of the cellular
11   telephone number ending in 1106. Pierre registered the telephone number ending in
12   1106 on the National Do Not Call Registry on June 14, 2021.
13         16.    Plaintiff’s cellular telephone number ending in 1106 is used for
14   residential purposes and is not associated with a business.
15         17.    On or around January 18, 2022, Plaintiff Pierre began receiving
16   unsolicited telemarketing calls from IEC from the following numbers: (786) 534-
17   0966, (786) 534-0970, (786) 534-0945, and (786) 534-0969.
18         18.    All of the calls solicited Plaintiff to enroll in IEC’s educational
19   programs. Specifically, the calls solicited Plaintiff to enroll with Florida Career
20   College.
21         19.    Plaintiff also received at least one unsolicited text message from the
22   number (786) 652-4227 on January 26, 2022. The text message also solicited
23   Plaintiff to enroll in IEC’s educational programs through Florida Career College.
24         20.    At no time did Pierre ever consent to receive telephone calls or text
25   messages from Defendant IEC.
26         21.    In fact, Pierre expressly requested that IEC stop placing calls to her
27   telephone number. Notwithstanding the requests, IEC continued calling and texting.
28         22.    To redress these injuries, Pierre, on behalf of herself and the Class of

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 1   similarly situated individuals, brings suit under the TCPA, which prohibits
 2   unsolicited telephone calls and text messages to cellular telephones registered on
 3   the National Do Not Call Registry. On behalf of the Class, Pierre seeks an
 4   injunction requiring IEC to cease all unauthorized telemarketing activities, and an
 5   award of statutory damages to the class members, together with costs and
 6   reasonable attorneys’ fees.
 7                           CLASS ACTION ALLEGATIONS
 8         23.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure
 9   23(b)(2) and Rule 23(b)(3) on behalf of herself and a nationwide Class defined as
10   follows:
11         DNC Registry Class: All persons in the United States who from four
12         years prior to the filing of the initial complaint in this action to the
           present: (1) Defendant IEC, or a third person acting on behalf of IEC,
13         called or texted more than one time; (2) on his/her telephone; (3)
14         within any 12-month period; (4) where the telephone number had
           been listed on the National Do Not Call Registry for at least thirty
15         days; (5) for the purpose of selling or promoting IEC’s products or
16         services; and (6) for whom IEC claims it obtained prior express
           invitation or permission in the same manner as IEC claims it
17         supposedly obtained prior express invitation or permission to call
18         Plaintiff, or for whom it did not obtain prior express invitation or
           permission.
19
           24.    The following people are excluded from the Class: (1) any Judge or
20
     Magistrate presiding over this action and members of their families; (2) Defendant,
21
     Defendant’s subsidiaries, parents, successors, predecessors, and any entity in which
22
     the Defendant or its parents have a controlling interest and its current or former
23
     employees, officers and directors; (3) persons who properly execute and file a
24
     timely request for exclusion from the Class; (4) persons whose claims in this matter
25
     have been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s
26
     counsel and Defendant’s counsel; and (6) the legal representatives, successors, and
27
     assignees of any such excluded persons. Plaintiff anticipates the need to amend the
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 1   class definition following appropriate discovery.
 2         25.    Numerosity: The exact number of members within the Class is
 3   unknown and not available to Plaintiff at this time, but it is clear that individual
 4   joinder is impracticable. On information and belief, Defendant has placed
 5   unsolicited calls and text messages to thousands of consumers who fall into the
 6   defined Class. Members of the Class can be objectively identified through reference
 7   to Defendant’s records, consumer phone records, and other evidence to be gained in
 8   discovery.
 9         26.    Typicality: Plaintiff’s claims are typical of the claims of other
10   members of the Class, in that Plaintiff and the members of the Class sustained
11   damages arising out of Defendant’s uniform wrongful conduct.
12         27.    Adequate Representation: Plaintiff will fairly and adequately
13   represent and protect the interests of the Class, and has retained counsel competent
14   and experienced in complex class actions. Plaintiff has no interests antagonistic to
15   those of the Class, and Defendant has no defenses unique to Plaintiff.
16         28.    Commonality and Predominance: There are many questions of law
17   and fact common to the claims of Plaintiff and the Class, and those questions
18   predominate over any questions that may affect individual members of the Class.
19   Common questions for the Class include, but are not necessarily limited to the
20   following:
21                (a)    Whether Defendant’s conduct violated the TCPA;
22                (b)    Whether IEC systematically placed unsolicited telephone calls
23                and text messages to consumers whose telephone numbers were
24                registered with the National Do Not Call Registry absent prior express
25                invitation or permission;
26                (c)    Whether any third party made the calls or sent the text messages
27                and, if so, whether Defendant is liable for such calls;
28                (d)    Whether the Plaintiff and the other members of the Class are

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 1                entitled to statutory damages; and
 2                (e)     Whether Defendant acted willfully so as to require an award of
 3                treble damages.
 4         29.    Superiority: This case is also appropriate for class certification
 5   because class proceedings are superior to all other available methods for the fair
 6   and efficient adjudication of this controversy. Joinder of all parties is impracticable,
 7   and the damages suffered by the individual members of the Class will likely be
 8   relatively small, especially given the burden and expense of individual prosecution
 9   of the complex litigation necessitated by Defendant’s actions. Thus, it would be
10   virtually impossible for the individual members of the Class to obtain effective
11   relief from Defendant’s misconduct. Even if class members could sustain such
12   individual litigation, it would still not be preferable to a class action, because
13   individual litigation would increase the delay and expense to all parties due to the
14   complex legal and factual controversies presented in this Complaint. By contrast, a
15   class action presents far fewer management difficulties and provides the benefits of
16   single adjudication, economy of scale, and comprehensive supervision by a single
17   court. Economies of time, effort and expense will be fostered and uniformity of
18   decisions ensured.
19         30.    Conduct Similar Towards All Class Members: By committing the
20   acts set forth in this pleading, Defendant has acted or refused to act on grounds
21   substantially similar towards all members of the Class so as to render certification
22   of the Class for final injunctive relief and corresponding declaratory relief
23   appropriate under Rule 23(b)(2).
24                                 CAUSE OF ACTION
25                         Violation of 47 U.S.C. § 227, et seq
                    (On Behalf of Plaintiff and the DNC Registry Class)
26
           31.    Plaintiff incorporates by reference the foregoing allegations as if fully
27
     set forth herein.
28

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 1         32.     47 U.S.C. § 227(c)(5) provides that any “person who has received
 2   more than one telephone call within any 12-month period by or on behalf of the
 3   same entity in violation of the regulations prescribed under this subsection may”
 4   bring a private action based on a violation of said regulations, which were
 5   promulgated to protect telephone subscribers’ privacy rights to avoid receiving
 6   telephone solicitations to which they object.
 7         33.     The TCPA’s implementing regulation—47 C.F.R. § 64.1200(c)—
 8   provides that “[n]o person or entity shall initiate any telephone solicitation” to “[a]
 9   residential telephone subscriber who has registered his or her telephone number on
10   the national do-not-call registry of persons who do not wish to receive telephone
11   solicitations that is maintained by the Federal Government.” See 47 C.F.R. §
12   64.1200(c).
13         34.     47 C.F.R. § 64.1200(e) provides that 47 C.F.R. §§ 64.1200(c) and (d)
14   “are applicable to any person or entity making telephone solicitations or
15   telemarketing calls to wireless telephone numbers to the extent described in the
16   Commission’s Report and Order, CG Docket No. 02-278, FCC 03-153, ‘Rules and
17   Regulations Implementing the Telephone Consumer Protection Act of 1991,’” and
18   the Commission’s Report and Order, in turn, provides as follows:
19         The Commission’s rules provide that companies making telephone
20         solicitations to residential telephone subscribers must comply with
           time of day restrictions and must institute procedures for maintaining
21         do-not-call lists. For the reasons described above, we conclude that
22         these rules apply to calls made to wireless telephone numbers. We
           believe that wireless subscribers should be afforded the same
23         protections as wireline subscribers.
24         35.     47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity
25   shall initiate any call for telemarketing purposes to a residential telephone
26   subscriber unless such person or entity has instituted procedures for maintaining a
27   list of persons who request not to receive telemarketing calls made by or on behalf
28   of that person or entity. The procedures instituted must meet the following

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 1   minimum standards:
 2        (1) Written policy. Persons or entities making calls for telemarketing
 3        purposes must have a written policy, available upon demand, for
          maintaining a do-not-call list.
 4
 5        (2) Training of personnel engaged in telemarketing. Personnel
          engaged in any aspect of telemarketing must be informed and trained
 6        in the existence and use of the do-not-call list.
 7
          (3) Recording, disclosure of do-not-call requests. If a person or entity
 8        making a call for telemarketing purposes (or on whose behalf such a
 9        call is made) receives a request from a residential telephone subscriber
          not to receive calls from that person or entity, the person or entity
10        must record the request and place the subscriber’s name, if provided,
11        and telephone number on the do-not-call list at the time the request is
          made. Persons or entities making calls for telemarketing purposes (or
12        on whose behalf such calls are made) must honor a residential
13        subscriber’s do-not-call request within a reasonable time from the date
          such request is made. This period may not exceed thirty days from the
14        date of such request . . . .
15
          (4) Identification of sellers and telemarketers. A person or entity
16        making a call for telemarketing purposes must provide the called party
17        with the name of the individual caller, the name of the person or entity
          on whose behalf the call is being made, and a telephone number or
18        address at which the person or entity may be contacted. The telephone
19        number provided may not be a 900 number or any other number for
          which charges exceed local or long-distance transmission charges.
20
21        (5) Affiliated persons or entities. In the absence of a specific request
          by the subscriber to the contrary, a residential subscriber’s do-not-call
22        request shall apply to the particular business entity making the call (or
23        on whose behalf a call is made), and will not apply to affiliated
          entities unless the consumer reasonably would expect them to be
24        included given the identification of the caller and the product being
25        advertised.
26        (6) Maintenance of do-not-call lists. A person or entity making calls
27        for telemarketing purposes must maintain a record of a consumer’s
          request not to receive further telemarketing calls. A do-not-call
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 1            request must be honored for 5 years from the time the request is
              made.”
 2
              36.   Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to
 3
     be initiated, telephone solicitations to telephone subscribers like the Plaintiff and
 4
     the Do Not Call Registry Class members who registered their respective telephone
 5
     numbers on the National Do Not Call Registry, a listing of persons who do not wish
 6
     to receive telephone solicitations that is maintained by the federal government.
 7
              37.   IEC and/or its agent(s) placed more than one unsolicited telephone call
 8
     and/or text message to Pierre and the other members of the DNC Registry Class
 9
     within a 12-month period without having prior express invitation or permission to
10
     place such calls.
11
              38.   Each such telephone call was directed to a telephone number that had
12
     been registered with the National Do Not Call Registry for at least 30 days.
13
              39.   Pierre and the other members of the DNC Registry Class did not
14
     provide consent to receive such telemarketing calls from IEC or its agents.
15
              40.   Neither IEC nor its agents have any record of consent to place such
16
     telemarketing calls or messages to Plaintiff or the other members of the DNC
17
     Registry Class.
18
              41.   IEC violated 47 C.F.R. §§ 64.1200(d) and (e) by causing calls to be
19
     placed for telemarketing purposes to wireless telephone subscribers, such as
20
     Plaintiff and the members of the DNC Registry Class, without instituting
21
     procedures that comply with the regulatory minimum standards for maintaining a
22
     do not call policy and a list of persons who request not to receive telemarketing
23
     calls.
24
              42.   Additionally, on information and belief, IEC fails to have a written do
25
     not call policy that is available on request. On further information and belief, IEC
26
     fails to train its employees and personnel involved in telemarketing in the existence
27
     and use of its do not call policy or do not call list.
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 1            43.   As a result of IEC’s conduct as alleged herein, Pierre and the members
 2   of the DNC Registry Class suffered actual damages and, under section 47 U.S.C. §
 3   227(c), are each entitled to, inter alia, receive at least $500 in damages for each
 4   such violation of 47 C.F.R. § 64.1200.
 5            44.   To the extent IEC’s misconduct is determined to have been willful and
 6   knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of
 7   statutory damages recoverable by Plaintiff and the members of the DNC Registry
 8   Class.
 9                                  PRAYER FOR RELIEF
10            WHEREFORE, Plaintiff, on behalf of herself and the Class, prays for the
11   following relief:
12            A.    An order certifying this case as a class action on behalf of the Class as
13                  defined above; appointing Plaintiff as the representative of the Class,
14                  and appointing their attorneys as Class Counsel;
15            B.    An award of actual monetary loss from such violations or the sum of
16                  five hundred dollars ($500.00) for each violation of the TCPA,
17                  whichever is greater, to be trebled where the calls and texts were
18                  knowingly or willfully sent, all to be paid into a common fund for the
19                  benefit of the Plaintiff and the Class Members;
20            C.    An order declaring Defendant’s telephone calls, as set out above,
21                  violate the TCPA;
22            D.    An injunction requiring IEC to stop placing calls to consumer
23                  registered on the National Do Not Call Registry absent prior express
24                  invitation or permission;
25            E.    An award of pre-judgment interest;
26            F.    An award of reasonable attorneys’ fees and costs; and
27            G.    Such further and other relief the Court deems reasonable and just.
28                                      JURY DEMAND

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 1         Plaintiff requests a trial by jury of all claims that can be so tried.
 2
     Dated: July 6, 2022                      SHANA PIERRE, individually and on
 3                                            behalf of all others similarly situated,
 4                                            By: /s/ Aaron D. Aftergood
                                              One of Plaintiff’s Attorneys
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15
16                                            *pro hac vice application to be filed
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